      0:22-cv-02633-JFA        Date Filed 08/10/22      Entry Number 1     Page 1 of 13




                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               ROCK HILL DIVISION

DARREN MACDONALD, individually and on
behalf of all others similarly situated,              Case no. CA 0:22-2633-JFA

                      Plaintiff,
                                                        CLASS ACTION
       v.
                                                         JURY DEMAND
MOVEMENT MORTGAGE, LLC, a
Delaware limited liability company,

                      Defendant.


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Darren MacDonald (“Plaintiff” or “Plaintiff MacDonald”) brings this Class

Action Complaint and Demand for Jury Trial against Defendant Movement Mortgage, LLC

(“Defendant” or “Movement Mortgage”), to stop the Defendant from violating the Telephone

Consumer Protection Act (“TCPA”) by sending unsolicited telemarketing calls and text

messages to consumers who registered their phone numbers on the Do Not Call registry

(“DNC”), and to otherwise obtain injunctive and monetary relief for all persons injured by

Defendant’s actions. Plaintiff alleges as follows upon personal knowledge as to himself and his

own acts and experiences, and, as to all other matters, upon information and belief, including

investigation conducted by his attorneys.

                                            PARTIES

       1.      Plaintiff MacDonald is a resident of Scottsdale, Arizona.

       2.      Defendant Movement Mortgage is a Delaware limited liability company

incorporated in Delaware and with its principal place of business at 8024 Calvin Hall Road,
      0:22-cv-02633-JFA          Date Filed 08/10/22       Entry Number 1       Page 2 of 13




Indian Land, SC 29707. Movement Mortgage conducts business throughout this District and the

United States.

                                  JURISDICTION AND VENUE

       3.        This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

       4.        This Court has personal jurisdiction over Defendant and the venue is proper in

this District under 28 U.S.C. § 1391(b) because Defendant resides in this District and the

wrongful conduct leading to this case was directed by Defendant to Plaintiff from this District.

                                         INTRODUCTION

       5.        As the Supreme Court recently explained, “Americans passionately disagree

about many things. But they are largely united in their disdain for robocalls. The Federal

Government receives a staggering number of complaints about robocalls—3.7 million

complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly

30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass'n of

Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

       6.        The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

       7.        A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.”

Id.




                                                                                                    2
         0:22-cv-02633-JFA       Date Filed 08/10/22    Entry Number 1     Page 3 of 13




         8.      When Congress enacted the TCPA in 1991, it found that American were receiving

more than 18 million calls every day. 105 Stat. 2394 at § 2(3).

         9.      By 2003, due to more powerful autodialing technology, American were receiving

more than 100 million calls every day. In re Rules and Regulations Implementing the TCPA of

1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

         10.     The problems Congress identified when it enacted the TCPA have only grown

exponentially in recent years.

         11.     Industry data shows that the number of robocalls made each month increased

from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three

years.

         12.     According to online robocall tracking service “YouMail,” 4.3 billion robocalls

were placed in June 2022 alone, at a rate of 144.3 million calls per day. www.robocallindex.com

(last visited July 5, 2022)

         13.     The FCC also has received an increasing number of complaints about unwanted

calls, with over 155,000 complaints in 2020, and 160,000 complaints in 2021. FCC, Consumer

Complaint Data Center, www.fcc.gov/consumer-help-center-data.

         14.     “Robocalls and telemarketing calls are currently the number one source of

consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),

statement of FCC chairman.1

         15.     “The FTC receives more complains about unwanted calls than all other

complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer




1
    https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls


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      0:22-cv-02633-JFA       Date Filed 08/10/22      Entry Number 1      Page 4 of 13




Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2



                                COMMON ALLEGATIONS

       16.      Defendant Movement Mortgage is a financial services company which provides

home loans and mortgage options to consumers throughout the U.S. 3

       17.      Defendant Movement Mortgage places telemarketing calls and text messages to

consumers across the U.S. soliciting their loans and mortgage options to consumers.

       18.      Defendant Movement Mortgage places telemarketing calls and text messages to

consumers whose numbers are registered on the Do Not Call registry without consent, like in

Plaintiff MacDonald’s case.

       19.      Defendant Movement Mortgage hires employees to place telemarketing calls and

text messages to consumers, for instance:

            An advertisement to hire Loan Officers includes “cold-calling” in the job

             description:4




2
  https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
consumer-protection-federal-communications-commission-rules-
regulations/160616robocallscomment.pdf
3
  https://movement.com/about
4
  https://www.wayup.com/i-Financial-Services-j-Movement-Mortgage-403597494644059/


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         0:22-cv-02633-JFA        Date Filed 08/10/22    Entry Number 1       Page 5 of 13




              Another advertisement to hire Loan Officers includes “cold-calling” in the job

               description: 5




         20.       Multiple consumers have posted complaints about receiving similar unsolicited

calls and text messages from Defendant Movement Mortgage as Plaintiff MacDonald, for

instance:




5
    https://wizehire.com/job/loan-officer-in-dana-point-ca-c2cebd1c63a9bfcd


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     0:22-cv-02633-JFA     Date Filed 08/10/22   Entry Number 1   Page 6 of 13




                                                         6




                                                                      7




                                                8




                                                                          9




6
  https://www.shouldianswer.com/phone-number/8552498126
7
  https://www.shouldianswer.com/phone-number/8559127069
8
  https://800notes.com/Phone.aspx/1-803-335-2380
9
  https://800notes.com/Phone.aspx/1-208-403-3440


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        0:22-cv-02633-JFA     Date Filed 08/10/22      Entry Number 1       Page 7 of 13




        21.   In response to these unsolicited telemarketing calls and text messages, Plaintiff

MacDonald files this lawsuit seeking monetary and injunctive relief requiring the Defendant to

cease from violating the Telephone Consumer Protection Act, as well as an award of statutory

damages to the members of the Class and costs.

                     PLAINTIFF MACDONALD’S ALLEGATIONS

        22.   Plaintiff MacDonald’s cell phone number has been registered with the DNC since

August 27, 2003.

        23.   Plaintiff MacDonald uses his cell phone number for personal use only.

        24.   On June 8, 2022, at 8:02 AM, Plaintiff MacDonald received a call to his cell

phone from the phone number 520-214-6698. Plaintiff answered the call and spoke to Ariel, who

identified herself as an employee of Defendant Movement Mortgage.




        25.   Defendant Movement Mortgage called Plaintiff to solicit him about refinancing

his home.

        26.   Plaintiff was not looking for and had not requested any refinancing options for his

home.




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        0:22-cv-02633-JFA       Date Filed 08/10/22     Entry Number 1      Page 8 of 13




         27.    The phone number 520-214-6698 is used and operated by Defendant Movement

Mortgage. On calling this phone number, it is answered by an automated voice system which

identifies as Movement Mortgage.

         28.    On June 8, 2022, at 9:01 AM, Plaintiff received a text message from Defendant

Movement Mortgage’s employee Ariel, soliciting refinancing options to Plaintiff:




         29.    Ariel is an employee of Defendant Movement Mortgage.10




         30.    Plaintiff MacDonald never consented to receiving telemarketing solicitation calls

or text messages from Defendant Movement Mortgage.


10
     https://www.linkedin.com/in/ariel-lanqua-6853b913a/


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      0:22-cv-02633-JFA        Date Filed 08/10/22      Entry Number 1        Page 9 of 13




       31.     The unauthorized call and text message placed by Defendant Movement

Mortgage, as alleged herein, have harmed Plaintiff MacDonald in the form of annoyance,

nuisance, and invasion of privacy, and disturbed the use and enjoyment of his phone, in addition

to the wear and tear on the phone’s hardware (including the phone’s battery) and the

consumption of memory on the phone.

       32.     Seeking redress for these injuries, Plaintiff MacDonald, on behalf of himself and

Class of similarly situated individuals, bring suit under the Telephone Consumer Protection Act,

47 U.S.C. § 227, et seq., which prohibits unsolicited telemarketing calls to phone numbers that

are registered on the DNC.

                                   CLASS ALLEGATIONS

       33.     Plaintiff MacDonald brings this action pursuant to Federal Rules of Civil

Procedure 23(b)(2) and 23(b)(3) and seek certification of the following Class:

       Do Not Call Registry Class: All persons in the United States who from four years prior
       to the filing of this action through class certification (1) Defendant Movement Mortgage
       called or texted more than one time, (2) within any 12-month period, (3) where the
       person’s phone number had been listed on the National Do Not Call Registry for at least
       thirty days (4) for substantially the same reason Defendant called or texted Plaintiff.

       34.     The following individuals are excluded from the Class: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, their

subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against the Defendant has been fully and finally adjudicated and/or




                                                                                                 9
      0:22-cv-02633-JFA        Date Filed 08/10/22       Entry Number 1     Page 10 of 13




released. Plaintiff MacDonald anticipates the need to amend the Class definition following

appropriate discovery.

       35.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Class such that joinder of all members is impracticable, and Plaintiff is a

member of the Class.

       36.     Commonality and Predominance: There are many questions of law and fact

common to the claims of the Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:

       (a)     whether the Defendant or an agent calling on behalf of Defendant placed multiple

               calls and/or text messages within a 12-month period to Plaintiff and members of

               the Do Not Call Registry class without first obtaining consent to make the calls;

       (b)     whether Defendant’s conduct violated the TCPA;

       (c)     whether members of the Classes are entitled to treble damages based on the

               willfulness of Defendant’s conduct.

       37.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting

this action on behalf of the members of the Class, and have the financial resources to do so.

Neither Plaintiff MacDonald nor his counsel have any interest adverse to the Class.

       38.     Appropriateness: This class action is also appropriate for certification because

the Defendant has acted or refused to act on grounds generally applicable to the Class as a whole,




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     0:22-cv-02633-JFA           Date Filed 08/10/22    Entry Number 1        Page 11 of 13




and thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of

conduct toward the members of the Class and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Class

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Class as a whole, not on facts or law applicable only to Plaintiff MacDonald.

Additionally, the damages suffered by individual members of the Class will likely be small

relative to the burden and expense of individual prosecution of the complex litigation

necessitated by Defendant’s actions. Thus, it would be virtually impossible for the members of

the Class to obtain effective relief from Defendant’s misconduct on an individual basis. A class

action provides the benefits of single adjudication, economies of scale, and comprehensive

supervision by a single court.

                                  FIRST CAUSE OF ACTION
                              Telephone Consumer Protection Act
                                  (Violation of 47 U.S.C. § 227)
             (On Behalf of Plaintiff MacDonald and the Do Not Call Registry Class)

       39.      Plaintiff repeats and realleges the prior paragraphs of this Complaint and

incorporates them by reference herein.

       40.      The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or his telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

       41.      Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone


                                                                                                 11
      0:22-cv-02633-JFA       Date Filed 08/10/22         Entry Number 1     Page 12 of 13




solicitations to which they object. 47 U.S.C. § 227(c).

       42.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff MacDonald and the Do Not Call

Registry Class members who registered their respective telephone numbers on the National Do

Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       43.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

Registry Class received more than one telephone solicitation in a 12-month period made by or on

behalf of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of

Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered

actual damages and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to

$500 in damages for such violations of 47 C.F.R. § 64.1200.

       44.     To the extent Defendant’s misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff MacDonald, individually and on behalf of the Classes, prays

for the following relief:

      a) An order certifying this case as a class action on behalf of the Classes, as defined

          above; appointing Plaintiff MacDonald as the representative of the Classes; and

          appointing his attorneys as Class Counsel;

      b) An award of actual and/or statutory damages and costs;

      c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;




                                                                                                12
     0:22-cv-02633-JFA       Date Filed 08/10/22       Entry Number 1        Page 13 of 13




      d) An injunction requiring Defendant to cease all unsolicited calling activity, and to

         otherwise protect the interests of the Classes; and

      e) Such further and other relief as the Court deems just and proper.

                                       JURY DEMAND

      Plaintiff MacDonald requests a jury trial.


                                            DARREN MACDONALD, individually and on
                                            behalf of those similarly situated individuals


DATED this 10th day of August, 2022.

                                            By: /s/ V. Elizabeth Wright
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